                                                                                                                                                                       Back | Print
                             Case 3:20-cv-05503-RV-HTC Document 22-2 Filed 06/21/21 Page 1 of 15
2020 CF 001506 A - STATE OF FLORIDA vs. BONOYER, JAMES LOUIS SCOTT
SUMMARY

               Judge:    NOBLES, LINDA L.                              Case Type:    FELONY                            Status: OPEN
        Case Number:     2020 CF 001506 A                   Uniform Case Number:     172020CF001506XXXAXX
      Clerk File Date:   3/31/2020                                    Status Date:   3/31/2020
    SAO Case Number:                                               Total Fees Due:   0.00
              Agency:    SANTA ROSA COUNTY SHERIFF'S OFFICE      Agency Report #:    PE140072                Custody Location:


PARTIES

TYPE         PART Y N AM E                                                                              AT TORN EY

DEFENDANT    BONOYER, JAMES LOUIS SCOTT                                                                                   TERREZZA, JOHN A (Main Attorney)

PLAINTIFF    STATE OF FLORIDA                                                                                             STATE ATTORNEY, DIVISION A (Main Attorney)



CHARGES

            COUNT   DESCRIPTION                                                                                       LEVEL      DEGREE   PLEA   DISPOSITION   DISPOSITION DATE

             1      PUBLIC ORDER CRIMES-RACKETEERING VIOLATION (895.03)                                               F          F
             2      PUBLIC SERVANT FALSIFY OFFICIAL DOCUMENT (838.022(1a))                                            F          T
             3      PUBLIC SERVANT FALSIFY OFFICIAL DOCUMENT (838.022(1a))                                            F          T
             4      PUBLIC SERVANT FALSIFY OFFICIAL DOCUMENT (838.022(1a))                                            F          T
             5      PUBLIC SERVANT FALSIFY OFFICIAL DOCUMENT (838.022(1a))                                            F          T
             6      PUBLIC SERVANT FALSIFY OFFICIAL DOCUMENT (838.022(1a))                                            F          T
             7      PUBLIC SERVANT FALSIFY OFFICIAL DOCUMENT (838.022(1a))                                            F          T
             8      PUBLIC SERVANT OBST DELAY FELONY INFO (838.022(1c))                                               F          T
             9      PUBLIC SERVANT FALSIFY OFFICIAL DOCUMENT (838.022(1a))                                            F          T
             10     PUBLIC SERVANT FALSIFY OFFICIAL DOCUMENT (838.022(1a))                                            F          T
             11     PUBLIC SERVANT FALSIFY OFFICIAL DOCUMENT (838.022(1a))                                            F          T
             12     PUBLIC SERVANT CONCEAL DESTROY ALTER OFFICIAL DOCUMENT (838.022(1b))                              F          T
             13     PUBLIC SERVANT FALSIFY OFFICIAL DOCUMENT (838.022(1a))                                            F          T
             14     PUBLIC SERVANT FALSIFY OFFICIAL DOCUMENT (838.022(1a))                                            F          T
             15     PUBLIC SERVANT FALSIFY OFFICIAL DOCUMENT (838.022(1a))                                            F          T
             16     PUBLIC SERVANT FALSIFY OFFICIAL DOCUMENT (838.022(1a))                                            F          T
             17     PUBLIC SERVANT FALSIFY OFFICIAL DOCUMENT (838.022(1a))                                            F          T
             18     PUBLIC SERVANT FALSIFY OFFICIAL DOCUMENT (838.022(1a))                                            F          T
             19     PUBLIC SERVANT FALSIFY OFFICIAL DOCUMENT (838.022(1a))                                            F          T
             20     PUBLIC SERVANT FALSIFY OFFICIAL DOCUMENT (838.022(1a))                                            F          T
             21     PUBLIC SERVANT FALSIFY OFFICIAL DOCUMENT (838.022(1a))                                            F          T
             22     PUBLIC SERVANT FALSIFY OFFICIAL DOCUMENT (838.022(1a))                                            F          T
             23     PUBLIC SERVANT FALSIFY OFFICIAL DOCUMENT (838.022(1a))                                            F          T
             24     PUBLIC SERVANT FALSIFY OFFICIAL DOCUMENT (838.022(1a))                                            F          T
             25     FORGERY OF CHECK ETC (831.01)                                                                     F          T
             26     FORGERY OF CHECK ETC (831.01)                                                                     F          T
             27     FORGERY OF CHECK ETC (831.01)                                                                     F          T
             28     FORGERY OF CHECK ETC (831.01)                                                                     F          T
             29     FORGERY OF CHECK ETC (831.01)                                                                     F          T
             30     FORGERY OF CHECK ETC (831.01)                                                                     F          T
             31     FORGERY OF CHECK ETC (831.01)                                                                     F          T
             32     FORGERY OF CHECK ETC (831.01)                                                                     F          T
             33     FORGERY OF CHECK ETC (831.01)                                                                     F          T
             34     FORGERY OF CHECK ETC (831.01)                                                                     F          T
             35     FORGERY OF CHECK ETC (831.01)                                                                     F          T
             36     FORGERY OF CHECK ETC (831.01)                                                                     F          T
             37     FORGERY OF CHECK ETC (831.01)                                                                     F          T
             38     FORGERY OF CHECK ETC (831.01)                                                                     F          T
             39     FORGERY OF CHECK ETC (831.01)                                                                     F          T
             40     FORGERY OF CHECK ETC (831.01)                                                                     F          T
             41     FORGERY OF CHECK ETC (831.01)                                                                     F          T
             42     FORGERY OF CHECK ETC (831.01)                                                                     F          T
             43     FORGERY OF CHECK ETC (831.01)                                                                     F          T
             44     FORGERY OF CHECK ETC (831.01)                                                                     F          T
             45     FALSE CLAIM EMT PARAMED AMBU DR ETC CERTIF LIC (401.41(1d))                                       M          F
-                                                                                                                                                                                    -
              COUNT          Case 3:20-cv-05503-RV-HTC Document 22-2 Filed 06/21/21
                      DESCRIPTION                                            LEVEL DEGREEPage
                                                                                           PLEA 2  of 15
                                                                                                DISPOSITION                                                       DISPOSITION DATE

El             46     FALSE CLAIM EMT PARAMED AMBU DR ETC CERTIF LIC (401.41(1d))                                            M        F

El             47     CONCEAL INFO RE NONCERTIF EMT PARAMED AMBU DR (401.41(1c))                                             M        F

El             48     FALSE CLAIM EMT PARAMED AMBU DR ETC CERTIF LIC (401.41(1d))                                            M        F

El             49     FALSE CLAIM EMT PARAMED AMBU DR ETC CERTIF LIC (401.41(1d))                                            M        F

El             50     FALSE CLAIM EMT PARAMED AMBU DR ETC CERTIF LIC (401.41(1d))                                            M        F

El             51     FALSE CLAIM EMT PARAMED AMBU DR ETC CERTIF LIC (401.41(1d))                                            M        F

El             52     FALSE CLAIM EMT PARAMED AMBU DR ETC CERTIF LIC (401.41(1d))                                            M        F

El             53     FALSE CLAIM EMT PARAMED AMBU DR ETC CERTIF LIC (401.41(1d))                                            M        F

El             54     FALSE CLAIM EMT PARAMED AMBU DR ETC CERTIF LIC (401.41(1d))                                            M        F

El             55     FALSE CLAIM EMT PARAMED AMBU DR ETC CERTIF LIC (401.41(1d))                                            M        F

El             56     FALSE CLAIM EMT PARAMED AMBU DR ETC CERTIF LIC (401.41(1d))                                            M        F

El             57     FALSE CLAIM EMT PARAMED AMBU DR ETC CERTIF LIC (401.41(1d))                                            M        F



EVENTS

DATE

6/9/2021 8:30 AM
                           EVEN T

                           DOCKET DAY
                                                       JUDG E

                                                       NOBLES, LINDA L.
                                                                                      1LO CATI O N

                                                                                       M.C. BLANCHARD JUDICIAL BUILDING
                                                                                                                                             1
                                                                                                                                             RES ULT
                                                                                                                                                                                         -


4/14/2021 8:30 AM          DOCKET DAY                  NOBLES, LINDA L.                M.C. BLANCHARD JUDICIAL BUILDING                      CONTINUED/RESET/PASSED
12/16/2020 9:30 AM         DOCKET DAY                  NOBLES, LINDA L.                M.C. BLANCHARD JUDICIAL BUILDING                      CONTINUED/RESET/PASSED
10/21/2020 9:30 AM         DOCKET DAY                  NOBLES, LINDA L.                M.C. BLANCHARD JUDICIAL BUILDING                      CONTINUED/RESET/PASSED
4/16/2020 8:30 AM          ARRAIGNMENTS                ROBINSON, COLEMAN L             M.C. BLANCHARD JUDICIAL BUILDING                      CONTINUED/RESET/PASSED



CASE HISTORY

CA S E N UM B ER

1997 ML 002424
                           1CHA RG E DES CRI PTI O N
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                                                                                       1DI S PO S I TI O N    O UTS TA N DI N G A M O UN T

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                                                                                                                                                                                         -



CASE DOCKETS


-
IMAGE
             1DATE
              4/19/2021
                            ~
                             EN TRY
                             DOCKET DAY SET FOR 06/09/2021 AT 8:30 AM IN MC/ , JDG: NOBLES, LINDA L.
                                                                                                                                                                                         -

        1    4/14/2021      HEARING WORKSHEET FILED
              4/14/2021      DOCKET DAY SET FOR 06/09/2021 AT 9:00 AM IN MC/ , JDG: NOBLES, LINDA L.

        2    4/6/2021       MOTION TO CONTINUE
              2/24/2021      DOCKET DAY SET FOR 04/14/2021 AT 8:30 AM IN MC/ , JDG: NOBLES, LINDA L.

        1    2/10/2021      3RD AMENDED DISCOVERY EXHIBIT
              2/5/2021       DOCKET DAY SET FOR 04/14/2021 AT 9:00 AM IN MC/ , JDG: NOBLES, LINDA L.

        1    2/5/2021       ORDER ON DEFENDNT'S MOTION TO CONTINUE

        2    2/1/2021       UNOPPOSED MOTION TO CONTINUE
              1/4/2021       DOCKET DAY SET FOR 02/17/2021 AT 8:30 AM IN MC/ , JDG: NOBLES, LINDA L.

        1    12/16/2020     HEARING WORKSHEET FILED
              12/16/2020     DOCKET DAY SET FOR 02/17/2021 AT 9:00 AM IN MC/ , JDG: NOBLES, LINDA L.
              12/8/2020      DOCKET DAY SET FOR 12/16/2020 AT 9:30 AM IN MC/ , JDG: NOBLES, LINDA L.
              11/20/2020     TWILLIAMS@OSA1.ORG, VTHALL@OSA1.ORG

I Request I   11/19/2020     DESIGNATION OF PROSECUTING ATTORNEY'S EMAIL ADDRESS


        1    10/21/2020     HEARING WORKSHEET FILED
              10/21/2020     DOCKET DAY SET FOR 12/16/2020 AT 9:00 AM IN MC/ , JDG: NOBLES, LINDA L.

        1    10/12/2020     2ND AMENDED DISCOVERY EXHIBIT
              9/22/2020      DOCKET DAY SET FOR 10/21/2020 AT 9:30 AM IN MC/ , JDG: NOBLES, LINDA L.

        1    8/24/2020      ORDER ON DEFENDANT'S MOTION TO CONTINUE
              8/24/2020      DOCKET DAY SET FOR 10/21/2020 AT 9:00 AM IN MC/ , JDG: NOBLES, LINDA L.---PER JA EMAIL

        2    8/21/2020      MOTION TO CONTINUE

        1    8/20/2020      WAIVER OF APPEARANCE
              8/18/2020      DOCKET DAY SET FOR 08/26/2020 AT 9:30 AM IN MC/ , JDG: NOBLES, LINDA L.
              6/29/2020      DOCKET DAY SET FOR 08/26/2020 AT 9:00 AM IN MC/ , JDG: NOBLES, LINDA L.

        1    6/26/2020      ORDER ON UNOPPOSED MOTION TO CONTINUE

        2    6/24/2020      UNOPPOSED MOTION TO CONTINUE

        1    5/18/2020      1ST AMENDED DISCOVERY EXHIBIT
              5/6/2020       DOCKET DAY SET FOR 06/30/2020 AT 9:00 AM IN MC/ , JDG: NOBLES, LINDA L.
              5/6/2020       PROSECUTOR: STATE ATTORNEY, DIVISION A ASSIGNED
              5/6/2020       NOBLES, LINDA L.: ASSIGNED

        1    5/5/2020       ORDER TO TRANSFER
                                                                                                                              -

-
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IMAGE
          I
          DATE        Case
                      EN TRY 3:20-cv-05503-RV-HTC Document 22-2 Filed 06/21/21 Page 3 of 15
     5   5/1/2020    DISCOVERY EXHIBIT

     1   4/30/2020   MOTION TO TRANSFER
          4/21/2020   JOHN@TERREZZALAW.COM, MAIL@TERREZZALAW.COM

 2       4/20/2020   NOTICE OF APPEARANCE AND DESIGNATION OF E-MAIL ADDRESSES, PLEA OF NOT GUILTY, AND NOTICE OF DISCOVERY

  14     4/16/2020   INFORMATION AND DEMAND FOR NOTICE OF ALIBI
          4/16/2020   FILED SEQ: 45 - (401.41(1C)) CONCEAL INFO RE NONCERTIF EMT PARAMED AMBU DR
          4/16/2020   FILED SEQ: 46 - (401.41(1D)) FALSE CLAIM EMT PARAMED AMBU DR ETC CERTIF LIC
          4/16/2020   FILED SEQ: 47 - (401.41(1D)) FALSE CLAIM EMT PARAMED AMBU DR ETC CERTIF LIC
          4/16/2020   FILED SEQ: 48 - (401.41(1D)) FALSE CLAIM EMT PARAMED AMBU DR ETC CERTIF LIC
          4/16/2020   FILED SEQ: 49 - (401.41(1D)) FALSE CLAIM EMT PARAMED AMBU DR ETC CERTIF LIC
          4/16/2020   FILED SEQ: 50 - (401.41(1D)) FALSE CLAIM EMT PARAMED AMBU DR ETC CERTIF LIC
          4/16/2020   FILED SEQ: 51 - (401.41(1D)) FALSE CLAIM EMT PARAMED AMBU DR ETC CERTIF LIC
          4/16/2020   FILED SEQ: 52 - (401.41(1D)) FALSE CLAIM EMT PARAMED AMBU DR ETC CERTIF LIC
          4/16/2020   FILED SEQ: 53 - (401.41(1D)) FALSE CLAIM EMT PARAMED AMBU DR ETC CERTIF LIC
          4/16/2020   FILED SEQ: 54 - (401.41(1D)) FALSE CLAIM EMT PARAMED AMBU DR ETC CERTIF LIC
          4/16/2020   FILED SEQ: 55 - (401.41(1D)) FALSE CLAIM EMT PARAMED AMBU DR ETC CERTIF LIC
          4/16/2020   FILED SEQ: 56 - (401.41(1D)) FALSE CLAIM EMT PARAMED AMBU DR ETC CERTIF LIC
          4/16/2020   FILED SEQ: 25 - (831.01) FORGERY OF CHECK ETC
          4/16/2020   FILED SEQ: 26 - (831.01) FORGERY OF CHECK ETC
          4/16/2020   FILED SEQ: 27 - (831.01) FORGERY OF CHECK ETC
          4/16/2020   FILED SEQ: 28 - (831.01) FORGERY OF CHECK ETC
          4/16/2020   FILED SEQ: 29 - (831.01) FORGERY OF CHECK ETC
          4/16/2020   FILED SEQ: 30 - (831.01) FORGERY OF CHECK ETC
          4/16/2020   FILED SEQ: 31 - (831.01) FORGERY OF CHECK ETC
          4/16/2020   FILED SEQ: 32 - (831.01) FORGERY OF CHECK ETC
          4/16/2020   FILED SEQ: 33 - (831.01) FORGERY OF CHECK ETC
          4/16/2020   FILED SEQ: 34 - (831.01) FORGERY OF CHECK ETC
          4/16/2020   FILED SEQ: 35 - (831.01) FORGERY OF CHECK ETC
          4/16/2020   FILED SEQ: 36 - (831.01) FORGERY OF CHECK ETC
          4/16/2020   FILED SEQ: 37 - (831.01) FORGERY OF CHECK ETC
          4/16/2020   FILED SEQ: 38 - (831.01) FORGERY OF CHECK ETC
          4/16/2020   FILED SEQ: 39 - (831.01) FORGERY OF CHECK ETC
          4/16/2020   FILED SEQ: 40 - (831.01) FORGERY OF CHECK ETC
          4/16/2020   FILED SEQ: 41 - (831.01) FORGERY OF CHECK ETC
          4/16/2020   FILED SEQ: 42 - (831.01) FORGERY OF CHECK ETC
          4/16/2020   FILED SEQ: 43 - (831.01) FORGERY OF CHECK ETC
          4/16/2020   FILED SEQ: 44 - (831.01) FORGERY OF CHECK ETC
          4/16/2020   FILED SEQ: 2 - (838.022(1A)) PUBLIC SERVANT FALSIFY OFFICIAL DOCUMENT
          4/16/2020   FILED SEQ: 3 - (838.022(1A)) PUBLIC SERVANT FALSIFY OFFICIAL DOCUMENT
          4/16/2020   FILED SEQ: 4 - (838.022(1A)) PUBLIC SERVANT FALSIFY OFFICIAL DOCUMENT
          4/16/2020   FILED SEQ: 5 - (838.022(1A)) PUBLIC SERVANT FALSIFY OFFICIAL DOCUMENT
          4/16/2020   FILED SEQ: 6 - (838.022(1A)) PUBLIC SERVANT FALSIFY OFFICIAL DOCUMENT
          4/16/2020   FILED SEQ: 7 - (838.022(1A)) PUBLIC SERVANT FALSIFY OFFICIAL DOCUMENT
          4/16/2020   FILED SEQ: 9 - (838.022(1A)) PUBLIC SERVANT FALSIFY OFFICIAL DOCUMENT
          4/16/2020   FILED SEQ: 10 - (838.022(1A)) PUBLIC SERVANT FALSIFY OFFICIAL DOCUMENT
          4/16/2020   FILED SEQ: 11 - (838.022(1A)) PUBLIC SERVANT FALSIFY OFFICIAL DOCUMENT
          4/16/2020   FILED SEQ: 12 - (838.022(1A)) PUBLIC SERVANT FALSIFY OFFICIAL DOCUMENT
          4/16/2020   FILED SEQ: 14 - (838.022(1A)) PUBLIC SERVANT FALSIFY OFFICIAL DOCUMENT
          4/16/2020   FILED SEQ: 15 - (838.022(1A)) PUBLIC SERVANT FALSIFY OFFICIAL DOCUMENT
          4/16/2020   FILED SEQ: 16 - (838.022(1A)) PUBLIC SERVANT FALSIFY OFFICIAL DOCUMENT
          4/16/2020   FILED SEQ: 17 - (838.022(1A)) PUBLIC SERVANT FALSIFY OFFICIAL DOCUMENT
          4/16/2020   FILED SEQ: 18 - (838.022(1A)) PUBLIC SERVANT FALSIFY OFFICIAL DOCUMENT
          4/16/2020   FILED SEQ: 19 - (838.022(1A)) PUBLIC SERVANT FALSIFY OFFICIAL DOCUMENT
          4/16/2020   FILED SEQ: 20 - (838.022(1A)) PUBLIC SERVANT FALSIFY OFFICIAL DOCUMENT
          4/16/2020   FILED SEQ: 21 - (838.022(1A)) PUBLIC SERVANT FALSIFY OFFICIAL DOCUMENT
          4/16/2020   FILED SEQ: 22 - (838.022(1A)) PUBLIC SERVANT FALSIFY OFFICIAL DOCUMENT
          4/16/2020   FILED SEQ: 23 - (838.022(1A)) PUBLIC SERVANT FALSIFY OFFICIAL DOCUMENT
          4/16/2020   FILED SEQ: 24 - (838.022(1A)) PUBLIC SERVANT FALSIFY OFFICIAL DOCUMENT
          4/16/2020   FILED SEQ: 13 - (838.022(1B)) PUBLIC SERVANT CONCEAL DESTROY ALTER OFFICIAL DOCUMENT
          4/16/2020   FILED SEQ: 8 - (838.022(1C)) PUBLIC SERVANT OBST DELAY FELONY INFO
~                                                                                                          -
IMAGE
f---       I  DATE        Case
                          EN TRY 3:20-cv-05503-RV-HTC Document 22-2 Filed 06/21/21 Page 4 of 15
              4/16/2020   FILED SEQ: 1 - (895.03) PUBLIC ORDER CRIMES-RACKETEERING VIOLATION
              4/16/2020   FILED SEQ: 57 - (401.41(1D)) FALSE CLAIM EMT PARAMED AMBU DR ETC CERTIF LIC

   13        4/16/2020   INFORMATION

  1          4/16/2020   DEMAND FOR NOTICE OF ALIBI
              4/16/2020   DOCKET DAY SET FOR 06/10/2020 AT 9:00 AM IN MC/ , JDG: ROBINSON, COLEMAN L

      1      4/16/2020   HEARING WORKSHEET FILED

I Request I   4/13/2020   LETTER NOTIFYING DEFENDANT OF COURT DATE

              4/13/2020   ROBINSON, COLEMAN L: ASSIGNED
              4/13/2020   PROSECUTOR: STATE ATTORNEY, DIVISION J ASSIGNED
              4/13/2020   ARRAIGNMENTS SET FOR 04/16/2020 AT 8:30 AM IN MC/ , JDG: ROBINSON, COLEMAN L
              4/2/2020    UNDO POST

   29        4/1/2020    CAPIAS RETURNED SERVED (OUT OF COUNTY)

  1          4/1/2020    LETTER NOTIFYING DEFENDANT OF COURT DATE (DISREGARD-CORRECT DATE IS 4/16/2020)

I Request I 3/31/2020     PROFESSIONAL BOND 5624578976 POSTED $2,500.00


I Request I 3/31/2020     PROFESSIONAL BOND 5624578992 POSTED $500.00


I Request I 3/31/2020     PROFESSIONAL BOND 5624578989 POSTED $2,500.00


I Request I 3/31/2020     PROFESSIONAL BOND 5624526708 POSTED $2,500.00


I Request I 3/31/2020     PROFESSIONAL BOND 5624526696 POSTED $2,500.00


I Request I 3/31/2020     PROFESSIONAL BOND 5624526683 POSTED $2,500.00


I Request I 3/31/2020     PROFESSIONAL BOND 5624526670 POSTED $2,500.00


I Request I 3/31/2020     PROFESSIONAL BOND 5624526667 POSTED $2,500.00


I Request I 3/31/2020     PROFESSIONAL BOND 5624526654 POSTED $2,500.00


I Request I 3/31/2020     PROFESSIONAL BOND 5624526641 POSTED $2,500.00


I Request I 3/31/2020     PROFESSIONAL BOND 5624526638 POSTED $2,500.00


I Request I 3/31/2020     PROFESSIONAL BOND 5624526625 POSTED $2,500.00


I Request I 3/31/2020     PROFESSIONAL BOND 5624526612 POSTED $2,500.00


I Request I 3/31/2020     PROFESSIONAL BOND 5624526609 POSTED $2,500.00


I Request I 3/31/2020     PROFESSIONAL BOND 5624526597 POSTED $2,500.00


I Request I 3/31/2020     PROFESSIONAL BOND 5624526584 POSTED $2,500.00


I Request I 3/31/2020     PROFESSIONAL BOND 5624526571 POSTED $2,500.00


I Request I 3/31/2020     PROFESSIONAL BOND 5624526568 POSTED $2,500.00


I Request I 3/31/2020     PROFESSIONAL BOND 5624526555 POSTED $2,500.00


I Request I 3/31/2020     PROFESSIONAL BOND 5624526542 POSTED $2,500.00


I Request I 3/31/2020     PROFESSIONAL BOND 5624526539 POSTED $2,500.00


I Request I 3/31/2020     PROFESSIONAL BOND 5624526526 POSTED $2,500.00


I Request I 3/31/2020     PROFESSIONAL BOND 5624526513 POSTED $2,500.00


I Request I 3/31/2020     PROFESSIONAL BOND 5625039522 POSTED $500.00


I Request I 3/31/2020     PROFESSIONAL BOND 5625039519 POSTED $500.00


I Request I 3/31/2020     PROFESSIONAL BOND 5624879251 POSTED $500.00


I Request I 3/31/2020     PROFESSIONAL BOND 5624879248 POSTED $500.00


I Request I 3/31/2020     PROFESSIONAL BOND 5624879235 POSTED $500.00


I Request I 3/31/2020     PROFESSIONAL BOND 5624879222 POSTED $500.00


I Request I 3/31/2020     PROFESSIONAL BOND 5624879219 POSTED $500.00


I Request I 3/31/2020     PROFESSIONAL BOND 5624526753 POSTED $500.00
~                                                                                                               -
IMAGE      DATE         Case
                        EN TRY 3:20-cv-05503-RV-HTC Document 22-2 Filed 06/21/21 Page 5 of 15
I Request I 3/31/2020   PROFESSIONAL BOND 5624526740 POSTED $500.00


I Request I 3/31/2020   PROFESSIONAL BOND 5624526737 POSTED $500.00


I Request I 3/31/2020   PROFESSIONAL BOND 5624526724 POSTED $500.00


I Request I 3/31/2020   PROFESSIONAL BOND 5624526711 POSTED $500.00


I Request I 3/31/2020   PROFESSIONAL BOND 5624578963 POSTED $2,500.00


I Request I 3/31/2020   PROFESSIONAL BOND 5624578950 POSTED $2,500.00


I Request I 3/31/2020   PROFESSIONAL BOND 5624578947 POSTED $2,500.00


I Request I 3/31/2020   PROFESSIONAL BOND 5624578918 POSTED $2,500.00


I Request I 3/31/2020   PROFESSIONAL BOND 5624578934 POSTED $2,500.00


I Request I 3/31/2020   PROFESSIONAL BOND 5624578921 POSTED $2,500.00


I Request I 3/31/2020   PROFESSIONAL BOND 5624578905 POSTED $2,500.00


I Request I 3/31/2020   PROFESSIONAL BOND 5624578893 POSTED $2,500.00


I Request I 3/31/2020   PROFESSIONAL BOND 5624578880 POSTED $2,500.00


I Request I 3/31/2020   PROFESSIONAL BOND 5624578877 POSTED $2,500.00


I Request I 3/31/2020   PROFESSIONAL BOND 5624578864 POSTED $2,500.00


I Request I 3/31/2020   PROFESSIONAL BOND 5624578851 POSTED $2,500.00


I Request I 3/31/2020   PROFESSIONAL BOND 5624578848 POSTED $2,500.00


I Request I 3/31/2020   PROFESSIONAL BOND 5624578835 POSTED $2,500.00


I Request I 3/31/2020   PROFESSIONAL BOND 5624578822 POSTED $2,500.00


I Request I 3/31/2020   PROFESSIONAL BOND 5624578819 POSTED $2,500.00


I Request I 3/31/2020   PROFESSIONAL BOND 5624578806 POSTED $2,500.00


I Request I 3/31/2020   PROFESSIONAL BOND 5624578794 POSTED $2,500.00


I Request I 3/31/2020   PROFESSIONAL BOND 5624578781 POSTED $2,500.00


I Request I 3/31/2020   PROFESSIONAL BOND 5624578778 POSTED $2,500.00


I Request I 3/31/2020   PROFESSIONAL BOND 5624578765 POSTED $2,500.00


     2    3/31/2020    PROFESSIONAL BOND 5552295664 POSTED $15,000.00

     4    3/31/2020    ARREST REPORT (CO DEF: 20CF001418A AND 20CF001418B)

     6    3/31/2020    ARREST REPORT (OUT OF COUNTY)
           3/31/2020    CASE FILED 03/31/2020 CASE NUMBER 2020 CF 001506 A
           3/24/2020    ARREST SEQ: 55 - (838.022(1B)) PUBLIC SERVANT CONCEAL DESTROY ALTER OFFICIAL DOCUMENT
           3/24/2020    ARREST SEQ: 56 - (838.022(1C)) PUBLIC SERVANT OBST DELAY FELONY INFO
           3/24/2020    ARREST SEQ: 57 - (895.03) PUBLIC ORDER CRIMES-RACKETEERING VIOLATION
           3/24/2020    ARREST SEQ: 54 - (838.022(1A)) PUBLIC SERVANT FALSIFY OFFICIAL DOCUMENT
           3/24/2020    ARREST SEQ: 53 - (838.022(1A)) PUBLIC SERVANT FALSIFY OFFICIAL DOCUMENT
           3/24/2020    ARREST SEQ: 52 - (838.022(1A)) PUBLIC SERVANT FALSIFY OFFICIAL DOCUMENT
           3/24/2020    ARREST SEQ: 51 - (838.022(1A)) PUBLIC SERVANT FALSIFY OFFICIAL DOCUMENT
           3/24/2020    ARREST SEQ: 50 - (838.022(1A)) PUBLIC SERVANT FALSIFY OFFICIAL DOCUMENT
           3/24/2020    ARREST SEQ: 49 - (838.022(1A)) PUBLIC SERVANT FALSIFY OFFICIAL DOCUMENT
           3/24/2020    ARREST SEQ: 48 - (838.022(1A)) PUBLIC SERVANT FALSIFY OFFICIAL DOCUMENT
           3/24/2020    ARREST SEQ: 47 - (838.022(1A)) PUBLIC SERVANT FALSIFY OFFICIAL DOCUMENT
           3/24/2020    ARREST SEQ: 46 - (838.022(1A)) PUBLIC SERVANT FALSIFY OFFICIAL DOCUMENT
           3/24/2020    ARREST SEQ: 45 - (838.022(1A)) PUBLIC SERVANT FALSIFY OFFICIAL DOCUMENT
           3/24/2020    ARREST SEQ: 44 - (838.022(1A)) PUBLIC SERVANT FALSIFY OFFICIAL DOCUMENT
           3/24/2020    ARREST SEQ: 43 - (838.022(1A)) PUBLIC SERVANT FALSIFY OFFICIAL DOCUMENT
           3/24/2020    ARREST SEQ: 42 - (838.022(1A)) PUBLIC SERVANT FALSIFY OFFICIAL DOCUMENT
           3/24/2020    ARREST SEQ: 41 - (838.022(1A)) PUBLIC SERVANT FALSIFY OFFICIAL DOCUMENT
           3/24/2020    ARREST SEQ: 40 - (838.022(1A)) PUBLIC SERVANT FALSIFY OFFICIAL DOCUMENT
           3/24/2020    ARREST SEQ: 39 - (838.022(1A)) PUBLIC SERVANT FALSIFY OFFICIAL DOCUMENT
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IMAGE
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        DATE        Case
                    EN TRY 3:20-cv-05503-RV-HTC Document 22-2 Filed 06/21/21 Page 6 of 15
        3/24/2020   ARREST SEQ: 38 - (838.022(1A)) PUBLIC SERVANT FALSIFY OFFICIAL DOCUMENT
        3/24/2020   ARREST SEQ: 37 - (838.022(1A)) PUBLIC SERVANT FALSIFY OFFICIAL DOCUMENT
        3/24/2020   ARREST SEQ: 36 - (838.022(1A)) PUBLIC SERVANT FALSIFY OFFICIAL DOCUMENT
        3/24/2020   ARREST SEQ: 35 - (838.022(1A)) PUBLIC SERVANT FALSIFY OFFICIAL DOCUMENT
        3/24/2020   ARREST SEQ: 34 - (838.022(1A)) PUBLIC SERVANT FALSIFY OFFICIAL DOCUMENT
        3/24/2020   ARREST SEQ: 33 - (831.01) FORGERY OF CHECK ETC
        3/24/2020   ARREST SEQ: 32 - (831.01) FORGERY OF CHECK ETC
        3/24/2020   ARREST SEQ: 31 - (831.01) FORGERY OF CHECK ETC
        3/24/2020   ARREST SEQ: 30 - (831.01) FORGERY OF CHECK ETC
        3/24/2020   ARREST SEQ: 29 - (831.01) FORGERY OF CHECK ETC
        3/24/2020   ARREST SEQ: 28 - (831.01) FORGERY OF CHECK ETC
        3/24/2020   ARREST SEQ: 27 - (831.01) FORGERY OF CHECK ETC
        3/24/2020   ARREST SEQ: 26 - (831.01) FORGERY OF CHECK ETC
        3/24/2020   ARREST SEQ: 25 - (831.01) FORGERY OF CHECK ETC
        3/24/2020   ARREST SEQ: 24 - (831.01) FORGERY OF CHECK ETC
        3/24/2020   ARREST SEQ: 23 - (831.01) FORGERY OF CHECK ETC
        3/24/2020   ARREST SEQ: 22 - (831.01) FORGERY OF CHECK ETC
        3/24/2020   ARREST SEQ: 21 - (831.01) FORGERY OF CHECK ETC
        3/24/2020   ARREST SEQ: 20 - (831.01) FORGERY OF CHECK ETC
        3/24/2020   ARREST SEQ: 19 - (831.01) FORGERY OF CHECK ETC
        3/24/2020   ARREST SEQ: 18 - (831.01) FORGERY OF CHECK ETC
        3/24/2020   ARREST SEQ: 17 - (831.01) FORGERY OF CHECK ETC
        3/24/2020   ARREST SEQ: 16 - (831.01) FORGERY OF CHECK ETC
        3/24/2020   ARREST SEQ: 15 - (831.01) FORGERY OF CHECK ETC
        3/24/2020   ARREST SEQ: 14 - (831.01) FORGERY OF CHECK ETC
        3/24/2020   ARREST SEQ: 13 - (401.41(1D)) FALSE CLAIM EMT PARAMED AMBU DR ETC CERTIF LIC
        3/24/2020   ARREST SEQ: 12 - (401.41(1D)) FALSE CLAIM EMT PARAMED AMBU DR ETC CERTIF LIC
        3/24/2020   ARREST SEQ: 11 - (401.41(1D)) FALSE CLAIM EMT PARAMED AMBU DR ETC CERTIF LIC
        3/24/2020   ARREST SEQ: 10 - (401.41(1D)) FALSE CLAIM EMT PARAMED AMBU DR ETC CERTIF LIC
        3/24/2020   ARREST SEQ: 9 - (401.41(1D)) FALSE CLAIM EMT PARAMED AMBU DR ETC CERTIF LIC
        3/24/2020   ARREST SEQ: 8 - (401.41(1D)) FALSE CLAIM EMT PARAMED AMBU DR ETC CERTIF LIC
        3/24/2020   ARREST SEQ: 7 - (401.41(1D)) FALSE CLAIM EMT PARAMED AMBU DR ETC CERTIF LIC
        3/24/2020   ARREST SEQ: 6 - (401.41(1D)) FALSE CLAIM EMT PARAMED AMBU DR ETC CERTIF LIC
        3/24/2020   ARREST SEQ: 5 - (401.41(1D)) FALSE CLAIM EMT PARAMED AMBU DR ETC CERTIF LIC
        3/24/2020   ARREST SEQ: 4 - (401.41(1D)) FALSE CLAIM EMT PARAMED AMBU DR ETC CERTIF LIC
        3/24/2020   ARREST SEQ: 3 - (401.41(1D)) FALSE CLAIM EMT PARAMED AMBU DR ETC CERTIF LIC
        3/24/2020   ARREST SEQ: 1 - (401.41(1C)) CONCEAL INFO RE NONCERTIF EMT PARAMED AMBU DR
        3/24/2020   ARREST SEQ: 2 - (401.41(1D)) FALSE CLAIM EMT PARAMED AMBU DR ETC CERTIF LIC
                                                                                                                                                                                            Back | Print
                                 Case 3:20-cv-05503-RV-HTC Document 22-2 Filed 06/21/21 Page 7 of 15
2020 CF 001418 B - STATE OF FLORIDA vs. SALTER, LEON
SUMMARY

                Judge:    NOBLES, LINDA L.                            Case Type:      FELONY                                             Status: OPEN
         Case Number:     2020 CF 001418 B                 Uniform Case Number:       172020CF001418XXXBXX
       Clerk File Date:   3/25/2020                                  Status Date:     3/25/2020
     SAO Case Number:                                             Total Fees Due:     0.00
               Agency:    ESCAMBIA COUNTY SHERIFF'S OFFICE      Agency Report #:      PE140072                               Custody Location:


PARTIES

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DEFENDANT       SALTER, LEON                                                                                                                 ~ CRAWFORD, CHRISTOPHER R (Main Attorney)
PLAINTIFF       STATE OF FLORIDA                                                                                                             ~ STATE ATTORNEY, DIVISION A (Main Attorney)

CHARGES

            COUNT     DESCRIPTION                                                                              LEVEL   DEGREE      PLEA DISPOSITION                                    DISPOSITION DATE

8               1     UTTER FORGED INSTRUMENT (831.02)                                                         F       T

8               2     UTTER FORGED INSTRUMENT (831.02)                                                         F       T

8               3     UTTER FORGED INSTRUMENT (831.02)                                                         F       T

8               4     PUBLIC SERVANT FALSIFY OFFICIAL DOCUMENT (838.022(1a))                                   F       T

8               5     PUBLIC SERVANT FALSIFY OFFICIAL DOCUMENT (838.022(1a))                                   F       T

8               6     PUBLIC SERVANT FALSIFY OFFICIAL DOCUMENT (838.022(1a))                                   F       T

8               7     TAMPER W FALSIFY ENVIRONMENTAL RULE SPEC (403.161(1c))                                   M       F

8               8     TAMPER W FALSIFY ENVIRONMENTAL RULE SPEC (403.161(1c))                                   M       F

8               9     FALSE CLAIM EMT PARAMED AMBU DR ETC CERTIF LIC (401.41(1d))                              M       F                     NO ACTION TAKEN BY PROSECUTOR             04/16/2020

8              10     FALSE CLAIM EMT PARAMED AMBU DR ETC CERTIF LIC (401.41(1d))                              M       F                     NO ACTION TAKEN BY PROSECUTOR             04/16/2020



EVENTS

DATE

8/4/2021 9:00 AM
                            EVEN T

                            DOCKET DAY
                                                       JUDG E

                                                       NOBLES, LINDA L.
                                                                                         1 LO CATI O N

                                                                                          M.C. BLANCHARD JUDICIAL BUILDING
                                                                                                                                                                 1
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6/9/2021 8:30 AM            DOCKET DAY                 NOBLES, LINDA L.                   M.C. BLANCHARD JUDICIAL BUILDING                                       CONTINUED/RESET/PASSED
4/14/2021 8:30 AM           DOCKET DAY                 NOBLES, LINDA L.                   M.C. BLANCHARD JUDICIAL BUILDING                                       CONTINUED/RESET/PASSED
12/16/2020 9:30 AM          DOCKET DAY                 NOBLES, LINDA L.                   M.C. BLANCHARD JUDICIAL BUILDING                                       CONTINUED/RESET/PASSED
7/1/2020 9:00 AM            DOCKET DAY                 NOBLES, LINDA L.                   M.C. BLANCHARD JUDICIAL BUILDING                                       CONTINUED/RESET/PASSED
6/30/2020 9:00 AM           DOCKET DAY                 NOBLES, LINDA L.                   M.C. BLANCHARD JUDICIAL BUILDING                                       CONTINUED/RESET/PASSED
4/16/2020 8:30 AM           ARRAIGNMENTS               ROBINSON, COLEMAN L                M.C. BLANCHARD JUDICIAL BUILDING                                       CONTINUED/RESET/PASSED



CASE HISTORY

CA S E N UM B ER
                          1CHA RG E DES CRI PTI O N                CA S E S TATUS
                                                                                         1DI S PO S I TI O N

                                                                                        No Additional Cases
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                                                                                                                                                                       1N EXT EVEN T          A LERTS




CASE DOCKETS

IMAGE
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       1
            1DATE
             6/9/2021
                                 EN TRY
                                 HEARING WORKSHEET FILED
                                                                                                                                                                                                           -
             6/9/2021            DOCKET DAY SET FOR 08/04/2021 AT 9:00 AM IN MC/ , JDG: NOBLES, LINDA L.
             4/19/2021           DOCKET DAY SET FOR 06/09/2021 AT 8:30 AM IN MC/ , JDG: NOBLES, LINDA L.

       1    4/14/2021           HEARING WORKSHEET FILED
             4/14/2021           DOCKET DAY SET FOR 06/09/2021 AT 9:00 AM IN MC/ , JDG: NOBLES, LINDA L.
             2/24/2021           DOCKET DAY SET FOR 04/14/2021 AT 8:30 AM IN MC/ , JDG: NOBLES, LINDA L.

       1    2/10/2021           3RD AMENDED DISCOVERY EXHIBIT
             2/10/2021           DOCKET DAY SET FOR 04/14/2021 AT 9:00 AM IN MC/ , JDG: NOBLES, LINDA L.

       1    2/10/2021           ORDER ON MOTION FOR CONTINUANCE

       2    2/9/2021            MOTION FOR CONTINUANCE
             1/4/2021            DOCKET DAY SET FOR 02/17/2021 AT 8:30 AM IN MC/ , JDG: NOBLES, LINDA L.

       1    12/16/2020          HEARING WORKSHEET FILED
             12/16/2020          DOCKET DAY SET FOR 02/17/2021 AT 9:00 AM IN MC/ , JDG: NOBLES, LINDA L.
             12/8/2020           DOCKET DAY SET FOR 12/16/2020 AT 9:30 AM IN MC/ , JDG: NOBLES, LINDA L.
             11/20/2020          TWILLIAMS@OSA1.ORG, VTHALL@OSA1.ORG

       1    11/19/2020          DESIGNATION OF PROSECUTING ATTORNEY'S EMAIL ADDRESS
             10/20/2020          DOCKET DAY SET FOR 12/16/2020 AT 9:00 AM IN MC/ , JDG: NOBLES, LINDA L.
~                                                                                                                                    -
IMAGE
f---          I   DATE         Case
                               EN TRY 3:20-cv-05503-RV-HTC Document 22-2 Filed 06/21/21 Page 8 of 15
        1        10/20/2020   ORDER ON MOTION TO CONTINUE

        2        10/19/2020   MOTION FOR CONTINUANCE

        1        10/12/2020   2ND AMENDED DISCOVERY EXHIBIT
                  9/23/2020    DOCKET DAY SET FOR 10/21/2020 AT 9:30 AM IN MC/ , JDG: NOBLES, LINDA L.

        1        8/27/2020    ORDER ON MOTION TO CONTINUE

        2        8/25/2020    MOTION FOR CONTINUANCE
                  8/25/2020    DOCKET DAY SET FOR 10/21/2020 AT 9:00 AM IN MC/ , JDG: NOBLES, LINDA L. (PER JA EMAIL)
                  8/18/2020    DOCKET DAY SET FOR 08/26/2020 AT 9:30 AM IN MC/ , JDG: NOBLES, LINDA L.

        1        7/1/2020     HEARING WORKSHEET FILED
                  7/1/2020     DOCKET DAY SET FOR 08/26/2020 AT 9:00 AM IN MC/ , JDG: NOBLES, LINDA L.
                  6/29/2020    DOCKET DAY SET FOR 07/01/2020 AT 9:00 AM IN MC/ , JDG: NOBLES, LINDA L.

        10       6/26/2020    DEFENSE'S MOTION FOR NONADVERSARIAL HEARING TO BE HELD REMOTELY

        1        6/8/2020     ORDER ON DEFENDANT'S AMENDED MOTION FOR DECLARATIO OF INDIGENCY

        1        5/26/2020    AFFIDAVIT OF INDIGENT STATUS FILED WITH CLERK DETERMINING APPLICANT IS NOT INDIGENT

        5        5/26/2020    AMENDED MOTION FOR DECLARATION OF INDIGENCY

I Request I       5/26/2020    AFFIDAVIT OF INDIGENT STATUS FILED WITH CLERK INCOMPLETE


        1        5/18/2020    AMENDED DISCOVERY EXHIBIT

        5        5/1/2020     DISCOVERY EXHIBIT

        5        4/22/2020    MOTION FOR DECLARATION OF INDIGENCY

        3        4/16/2020    INFORMATION AND DEMAND FOR NOTICE OF ALIBI
                  4/16/2020    NO ACTION TAKEN BY PROSECUTOR SEQ: 9 - (401.41(1D)) FALSE CLAIM EMT PARAMED AMBU DR ETC CERTIF LIC
                  4/16/2020    NO ACTION TAKEN BY PROSECUTOR SEQ: 10 - (401.41(1D)) FALSE CLAIM EMT PARAMED AMBU DR ETC CERTIF LIC
                  4/16/2020    FILED SEQ: 8 - (403.161(1C)) TAMPER W FALSIFY ENVIRONMENTAL RULE SPEC
                  4/16/2020    FILED SEQ: 7 - (403.161(1C)) TAMPER W FALSIFY ENVIRONMENTAL RULE SPEC
                  4/16/2020    FILED SEQ: 6 - (838.022(1A)) PUBLIC SERVANT FALSIFY OFFICIAL DOCUMENT
                  4/16/2020    FILED SEQ: 3 - (831.02) UTTER FORGED INSTRUMENT
                  4/16/2020    FILED SEQ: 2 - (831.02) UTTER FORGED INSTRUMENT
                  4/16/2020    FILED SEQ: 1 - (831.02) UTTER FORGED INSTRUMENT

        1        4/16/2020    DEMAND FOR NOTICE OF ALIBI
                  4/16/2020    DOCKET DAY SET FOR 06/30/2020 AT 9:00 AM IN MC/ , JDG: NOBLES, LINDA L.

        1        4/16/2020    HEARING WORKSHEET FILED

I Request I       4/16/2020    INFORMATION AND DEMAND FOR NOTICE OF ALIBI

                  3/31/2020    BRITTANY@BETTERCALLCHRIS.NET, CHRIS@BETTERCALLCHRIS.NET, ESERVICE@BETTERCALLCHRIS.NET

I Request I       3/31/2020    WRITTEN WAIVER OF DEFENDANT'S APPEARANCE FOR ALL PRE-TRIAL CONFERENCES


        4        3/31/2020    NOTICE OF APPEARANCE, DESIGNATION OF EMAIL, PLEA OF NOT GUILTY, AND WAIVER OF ARRAIGNMENT

        9        3/25/2020    PROBABLE CAUSE WARRANT

        2        3/25/2020    PROFESSIONAL BOND PSE5139808 POSTED $2,500.00

I   Request   I   3/25/2020    PROFESSIONAL BOND PSE5139807 POSTED $2,500.00


I Request I 3/25/2020          PROFESSIONAL BOND PSE5139806 POSTED $2,500.00


I Request I 3/25/2020          PROFESSIONAL BOND PSE5139811 POSTED $2,500.00


I Request I 3/25/2020          PROFESSIONAL BOND PSE5139810 POSTED $2,500.00


I Request I 3/25/2020          PROFESSIONAL BOND PSE5139809 POSTED $2,500.00


I Request I 3/25/2020          PROFESSIONAL BOND PSE226868 POSTED $1,000.00


I Request I 3/25/2020          PROFESSIONAL BOND PSE226867 POSTED $1,000.00


        3        3/25/2020    ARREST REPORT (CO DEF: 20CF001418A AND 20CF001506)
                  3/25/2020    ARRAIGNMENTS SET FOR 04/16/2020 AT 8:30 AM IN MC/ , JDG: ROBINSON, COLEMAN L
                  3/25/2020    NOBLES, LINDA L.: ASSIGNED
                  3/25/2020    PROSECUTOR: STATE ATTORNEY, DIVISION A ASSIGNED
                  3/25/2020    CASE FILED 03/25/2020 CASE NUMBER 2020 CF 001418 B
                  3/24/2020    N/A SEQ: 10 - ()
                  3/24/2020    N/A SEQ: 9 - ()
                  3/24/2020    ARREST SEQ: 8 - (838.022(1A)) PUBLIC SERVANT FALSIFY OFFICIAL DOCUMENT
                  3/24/2020    ARREST SEQ: 7 - (838.022(1A)) PUBLIC SERVANT FALSIFY OFFICIAL DOCUMENT
                  3/24/2020    ARREST SEQ: 6 - (838.022(1A)) PUBLIC SERVANT FALSIFY OFFICIAL DOCUMENT
                  3/24/2020    ARREST SEQ: 5 - (831.02) UTTER FORGED INSTRUMENT
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IMAGE
        I
        DATE        Case
                    EN TRY 3:20-cv-05503-RV-HTC Document 22-2 Filed 06/21/21 Page 9 of 15
        3/24/2020   ARREST SEQ: 4 - (831.02) UTTER FORGED INSTRUMENT
        3/24/2020   ARREST SEQ: 3 - (831.02) UTTER FORGED INSTRUMENT
        3/24/2020   ARREST SEQ: 2 - (401.41(1D)) FALSE CLAIM EMT PARAMED AMBU DR ETC CERTIF LIC
        3/24/2020   ARREST SEQ: 1 - (401.41(1D)) FALSE CLAIM EMT PARAMED AMBU DR ETC CERTIF LIC
                                                                                                                                                                                              Back | Print
                                   Case 3:20-cv-05503-RV-HTC Document 22-2 Filed 06/21/21 Page 10 of 15
2020 CF 001785 A - STATE OF FLORIDA vs. WHITE, STEPHEN PERRY JR
SUMMARY

                 Judge:       NOBLES, LINDA L.                           Case Type:        FELONY                                  Status: CLOSED
          Case Number:        2020 CF 001785 A                Uniform Case Number:         172020CF001785XXXAXX
        Clerk File Date:      4/22/2020                                 Status Date:       6/9/2021
      SAO Case Number:                                               Total Fees Due:       2373.00
                Agency:       BAY COUNTY SHERIFF'S DEPARTMENT      Agency Report #:        PE140072D                     Custody Location:


PARTIES


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TY PE          PA RTY N A M E                                                                                       ATTO RN EY

DEFENDANT      WHITE, STEPHEN PERRY JR                                                                                                 ~ RABBY, CHRISTOPHER L (Main Attorney)
PLAINTIFF      STATE OF FLORIDA                                                                                                        ~ STATE ATTORNEY, DIVISION A (Main Attorney)

CHARGES

              COUNT       DESCRIPTION                                                                                LEVEL    DEGREE       PLEA     DISPOSITION                        DISPOSITION DATE

8              1          PUBLIC ORDER CRIMES-RACKETEERING VIOLATION (895.03)                                        F        F                     NOLLE PROSEQUI                     06/09/2021

8              2          UTTER FORGED INSTRUMENT (831.02)                                                           F        T                     NOLLE PROSEQUI                     06/09/2021

8              3          UTTER FORGED INSTRUMENT (831.02)                                                           F        T                     NOLLE PROSEQUI                     06/09/2021

8              4          UTTER FORGED INSTRUMENT (831.02)                                                           F        T                     NOLLE PROSEQUI                     06/09/2021

8              5          UTTER FORGED INSTRUMENT (831.02)                                                           F        T                     NOLLE PROSEQUI                     06/09/2021

8              6          UTTER FORGED INSTRUMENT (831.02)                                                           F        T                     NOLLE PROSEQUI                     06/09/2021

8              7          UTTER FORGED INSTRUMENT (831.02)                                                           F        T                     NOLLE PROSEQUI                     06/09/2021

8              8          PUBLIC SERVANT FALSIFY OFFICIAL DOCUMENT (838.022(1a))                                     F        T                     NOLLE PROSEQUI                     06/09/2021

8              9          PUBLIC SERVANT FALSIFY OFFICIAL DOCUMENT (838.022(1a))                                     F        T                     NOLLE PROSEQUI                     06/09/2021

8              10         PUBLIC SERVANT FALSIFY OFFICIAL DOCUMENT (838.022(1a))                                     F        T                     NOLLE PROSEQUI                     06/09/2021

8              11         PUBLIC SERVANT FALSIFY OFFICIAL DOCUMENT (838.022(1a))                                     F        T                     NOLLE PROSEQUI                     06/09/2021

8              12         PUBLIC SERVANT FALSIFY OFFICIAL DOCUMENT (838.022(1a))                                     F        T                     NOLLE PROSEQUI                     06/09/2021

8              13         PUBLIC SERVANT FALSIFY OFFICIAL DOCUMENT (838.022(1a))                                     F        T                     NOLLE PROSEQUI                     06/09/2021

8              14         PUBLIC SERVANT FALSIFY OFFICIAL DOCUMENT (838.022(1a))                                     F        T                     NOLLE PROSEQUI                     06/09/2021

8              15         PUBLIC SERVANT FALSIFY OFFICIAL DOCUMENT (838.022(1a))                                     F        T                     NOLLE PROSEQUI                     06/09/2021

8              16         FALSE CLAIM EMT PARAMED AMBU DR ETC CERTIF LIC (401.41(1d))                                M        F                     ADJ W/H BY JDG [W]                 06/09/2021

8              17         FALSE CLAIM EMT PARAMED AMBU DR ETC CERTIF LIC (401.41(1d))                                M        F                     ADJ W/H BY JDG [W]                 06/09/2021



EVENTS

DATE

6/9/2021 8:30 AM
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                               DOCKET DAY
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                                                          NOBLES, LINDA L.
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                                                                                          M.C. BLANCHARD JUDICIAL BUILDING
                                                                                                                                                          i
                                                                                                                                                              RES ULT

                                                                                                                                                              SENTENCED
4/14/2021 8:30 AM              DOCKET DAY                 NOBLES, LINDA L.                M.C. BLANCHARD JUDICIAL BUILDING                                    CONTINUED/RESET/PASSED
2/17/2021 8:30 AM              DOCKET DAY                 NOBLES, LINDA L.                M.C. BLANCHARD JUDICIAL BUILDING                                    CONTINUED/RESET/PASSED
12/16/2020 9:30 AM             DOCKET DAY                 NOBLES, LINDA L.                M.C. BLANCHARD JUDICIAL BUILDING                                    CONTINUED/RESET/PASSED
10/21/2020 9:30 AM             DOCKET DAY                 NOBLES, LINDA L.                M.C. BLANCHARD JUDICIAL BUILDING                                    CONTINUED/RESET/PASSED
5/14/2020 8:30 AM              ARRAIGNMENTS               KINSEY, JENNIE                  M.C. BLANCHARD JUDICIAL BUILDING                                    CONTINUED/RESET/PASSED



CASE HISTORY

CA S E N UM B ER
                             1 CHA RG E DES CRI PTI O N              CA S E S TATUS
                                                                                              1DI S PO S I TI O N

                                                                                            No Additional Cases
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CASE DOCKETS

IMAGE
f-             1   DATE
                   6/10/2021
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                                          EN TRY
                                       COMPLIANCE CREATED: COLLECTIONS DEPARTMENT COMPLIANCE REQUIRED BY: 06/12/2023
                                                                                                                                                                                                             -

         7        6/10/2021           PROPOSED JUDGMENT AND SENTENCE

    Request        6/10/2021           BOND CANCELLATION SENT TO SURETY

    Request        6/10/2021           BOND CANCELLATION SENT TO SURETY

    Request        6/10/2021           BOND CANCELLATION SENT TO SURETY

    Request        6/10/2021           BOND CANCELLATION SENT TO SURETY

    Request        6/10/2021           BOND CANCELLATION SENT TO SURETY

    Request        6/10/2021           BOND CANCELLATION SENT TO SURETY

    Request        6/10/2021           BOND CANCELLATION SENT TO SURETY

    Request        6/10/2021           BOND CANCELLATION SENT TO SURETY

    Request        6/10/2021           BOND CANCELLATION SENT TO SURETY
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IMAGE             TDATE        Case
                                 EN TRY3:20-cv-05503-RV-HTC Document 22-2 Filed 06/21/21 Page 11 of 15
    Request       6/10/2021      BOND CANCELLATION SENT TO SURETY

    Request       6/10/2021      BOND CANCELLATION SENT TO SURETY

    Request       6/10/2021      BOND CANCELLATION SENT TO SURETY

    Request       6/10/2021      BOND CANCELLATION SENT TO SURETY

    Request       6/10/2021      BOND CANCELLATION SENT TO SURETY

    Request       6/10/2021      BOND CANCELLATION SENT TO SURETY

    Request       6/10/2021      BOND CANCELLATION SENT TO SURETY

    Request       6/10/2021      BOND CANCELLATION SENT TO SURETY
                  6/9/2021       CASE CLOSED

I Requested I 6/9/2021           SENTENCE RECOMMENDATION

                  6/9/2021       SENTENCING JUDGE: NOBLES, LINDA L.
                  6/9/2021       DEFENDANT ENTERED PLEA OF NOLO CONTENDERE/NO CONTEST SEQ 16
                  6/9/2021       DEFENDANT ENTERED PLEA OF NOLO CONTENDERE/NO CONTEST SEQ 17
                  6/9/2021       NOLLE PROSEQUI SEQ: 2 - (831.02) UTTER FORGED INSTRUMENT
                  6/9/2021       NOLLE PROSEQUI SEQ: 3 - (831.02) UTTER FORGED INSTRUMENT
                  6/9/2021       NOLLE PROSEQUI SEQ: 4 - (831.02) UTTER FORGED INSTRUMENT
                  6/9/2021       NOLLE PROSEQUI SEQ: 5 - (831.02) UTTER FORGED INSTRUMENT
                  6/9/2021       NOLLE PROSEQUI SEQ: 6 - (831.02) UTTER FORGED INSTRUMENT
                  6/9/2021       NOLLE PROSEQUI SEQ: 7 - (831.02) UTTER FORGED INSTRUMENT
                  6/9/2021       NOLLE PROSEQUI SEQ: 8 - (838.022(1A)) PUBLIC SERVANT FALSIFY OFFICIAL DOCUMENT
                  6/9/2021       NOLLE PROSEQUI SEQ: 9 - (838.022(1A)) PUBLIC SERVANT FALSIFY OFFICIAL DOCUMENT
                  6/9/2021       NOLLE PROSEQUI SEQ: 10 - (838.022(1A)) PUBLIC SERVANT FALSIFY OFFICIAL DOCUMENT
                  6/9/2021       NOLLE PROSEQUI SEQ: 11 - (838.022(1A)) PUBLIC SERVANT FALSIFY OFFICIAL DOCUMENT
                  6/9/2021       NOLLE PROSEQUI SEQ: 12 - (838.022(1A)) PUBLIC SERVANT FALSIFY OFFICIAL DOCUMENT
                  6/9/2021       NOLLE PROSEQUI SEQ: 13 - (838.022(1A)) PUBLIC SERVANT FALSIFY OFFICIAL DOCUMENT
                  6/9/2021       NOLLE PROSEQUI SEQ: 14 - (838.022(1A)) PUBLIC SERVANT FALSIFY OFFICIAL DOCUMENT
                  6/9/2021       NOLLE PROSEQUI SEQ: 15 - (838.022(1A)) PUBLIC SERVANT FALSIFY OFFICIAL DOCUMENT
                  6/9/2021       NOLLE PROSEQUI SEQ: 1 - (895.03) PUBLIC ORDER CRIMES-RACKETEERING VIOLATION

        1        6/9/2021       COURT WORKSHEET
                  4/19/2021      DOCKET DAY SET FOR 06/09/2021 AT 8:30 AM IN MC/ , JDG: NOBLES, LINDA L.

        1        4/14/2021      HEARING WORKSHEET FILED
                  4/14/2021      DOCKET DAY SET FOR 06/09/2021 AT 9:00 AM IN MC/ , JDG: NOBLES, LINDA L.
                  2/24/2021      DOCKET DAY SET FOR 04/14/2021 AT 8:30 AM IN MC/ , JDG: NOBLES, LINDA L.

        1        2/17/2021      HEARING WORKSHEET FILED
                  2/17/2021      DOCKET DAY SET FOR 04/14/2021 AT 9:00 AM IN MC/ , JDG: NOBLES, LINDA L.

        1        2/10/2021      3RD AMENDED DISCOVERY EXHIBIT
                  1/4/2021       DOCKET DAY SET FOR 02/17/2021 AT 8:30 AM IN MC/ , JDG: NOBLES, LINDA L.

        1        12/16/2020     HEARING WORKSHEET FILED
                  12/16/2020     DOCKET DAY SET FOR 02/17/2021 AT 9:00 AM IN MC/ , JDG: NOBLES, LINDA L.
                  12/8/2020      DOCKET DAY SET FOR 12/16/2020 AT 9:30 AM IN MC/ , JDG: NOBLES, LINDA L.
                  11/19/2020     TWILLIAMS@OSA1.ORG, VTHALL@OSA1.ORG
                  11/19/2020     DESIGNATION OF PROSECUTING ATTORNEY'S E-MAIL ADDRESS
I Request I       10/21/2020     HEARING WORKSHEET FILED
        1
                  10/21/2020     DOCKET DAY SET FOR 12/16/2020 AT 9:00 AM IN MC/ , JDG: NOBLES, LINDA L.

        2        10/15/2020     RECIPROCAL DISCOVERY

        1        10/12/2020     2ND AMENDED DISCOVERY EXHIBIT

        1        10/2/2020      NOTICE OF CHANGE OF ADDRESS
                  9/23/2020      DOCKET DAY SET FOR 10/21/2020 AT 9:30 AM IN MC/ , JDG: NOBLES, LINDA L.

        1        8/27/2020      ORDER FOR CONTINUANCE

        2        8/25/2020      MOTION FOR CONTINUANCE
                  8/25/2020      DOCKET DAY SET FOR 10/21/2020 AT 9:00 AM IN MC/ , JDG: NOBLES, LINDA L. (PER JA EMAIL)
                  8/18/2020      DOCKET DAY SET FOR 08/26/2020 AT 9:30 AM IN MC/ , JDG: NOBLES, LINDA L.
                  6/29/2020      DOCKET DAY SET FOR 08/26/2020 AT 9:00 AM IN MC/ , JDG: NOBLES, LINDA L.
                  6/26/2020      ORDER ON MOTION TO CONTINUE
I   Request
              I   6/25/2020      MOTION FOR CONTINUANCE
I Request I       5/20/2020      PROSECUTOR: STATE ATTORNEY, DIVISION A ASSIGNED
                  5/20/2020      DOCKET DAY SET FOR 06/30/2020 AT 9:00 AM IN MC/ , JDG: NOBLES, LINDA L.
                  5/20/2020      NOBLES, LINDA L.: ASSIGNED
                  5/20/2020      CASE ASSIGNED TO DIVISION A BY ORDER TO TRANSFER DATED 05/18/2020
                  5/18/2020      ORDER TO TRANSFER
I Request I
~                                                                                                               -
IMAGE
f---              I
                  DATE        Case
                                EN TRY3:20-cv-05503-RV-HTC Document 22-2 Filed 06/21/21 Page 12 of 15
        1        5/18/2020     FIRST AMENDED DISCOVERY EXHIBIT

        1        5/14/2020     MOTION TO TRANSFER

        5        5/14/2020     DISCOVERY EXHIBIT
                  5/14/2020     DOCKET DAY SET FOR 07/22/2020 AT 8:30 AM IN MC/ , JDG: SHACKELFORD, JAN
                  5/14/2020     HEARING WORKSHEET FILED
I Request I
                  5/13/2020     INFORMATION AND DEMAND FOR NOTICE OF ALIBI
I Request I
                  5/13/2020     FILED SEQ: 17 - (401.41(1D)) FALSE CLAIM EMT PARAMED AMBU DR ETC CERTIF LIC
                  5/13/2020     FILED SEQ: 16 - (401.41(1D)) FALSE CLAIM EMT PARAMED AMBU DR ETC CERTIF LIC
                  5/13/2020     INFORMATION AND DEMAND FOR NOTICE OF ALIBI
I Request I
                  5/13/2020     DEMAND FOR NOTICE OF ALIBI
I Request I
                  4/30/2020     RABBYLAWFIRM@AOL.COM, RABBYOFFICE@RABBYLAW.GCCOXMAIL.COM
                  4/30/2020     DESIGNATION OF EMAIL ADDRESSES FOR E-SERVICE FOR CHRISTOPHER L. RABBY, P.A.
I   Request   I
        1        4/30/2020     WRITTEN PLEA OF NOT GUILTY, WAIVER OF ARRAIGNMENT, AND REQUEST FOR JURY TRIAL
                  4/30/2020     NOTICE OF APPEARANCE
I Request I
                  4/30/2020     MAIL RETURNED BY POST OFFICE AS UNDELIVERABLE
I Request I       4/23/2020     LETTER NOTIFYING DEFENDANT OF COURT DATE
        1
                  4/23/2020     ARRAIGNMENTS SET FOR 05/14/2020 AT 8:30 AM IN MC/ , JDG: KINSEY, JENNIE
                  4/23/2020     PROSECUTOR: STATE ATTORNEY, DIVISION E ASSIGNED
                  4/23/2020     SHACKELFORD, JAN: ASSIGNED
                  4/22/2020     PROFESSIONAL BOND AS3K420043 POSTED $2,500.00
I   Request   I
        3        4/22/2020     PROFESSIONAL BOND AS3K420044 POSTED $2,500.00

    Request       4/22/2020     PROFESSIONAL BOND AS3K420045 POSTED $2,500.00

    Request       4/22/2020     PROFESSIONAL BOND AS3K420040 POSTED $2,500.00

    Request       4/22/2020     PROFESSIONAL BOND AS3K420052 POSTED $2,500.00

    Request       4/22/2020     PROFESSIONAL BOND AS3K420038 POSTED $2,500.00

    Request       4/22/2020     PROFESSIONAL BOND AS3K420041 POSTED $2,500.00

    Request       4/22/2020     PROFESSIONAL BOND AS3K420042 POSTED $2,500.00

    Request       4/22/2020     PROFESSIONAL BOND AS15K295891 POSTED $15,000.00

    Request       4/22/2020     PROFESSIONAL BOND AS1K508439 POSTED $500.00

    Request       4/22/2020     PROFESSIONAL BOND AS1K508440 POSTED $500.00

    Request       4/22/2020     PROFESSIONAL BOND AS3K420051 POSTED $2,500.00

    Request       4/22/2020     PROFESSIONAL BOND AS3K420050 POSTED $2,500.00

    Request       4/22/2020     PROFESSIONAL BOND AS3K420049 POSTED $2,500.00

    Request       4/22/2020     PROFESSIONAL BOND AS3K420048 POSTED $2,500.00

    Request       4/22/2020     PROFESSIONAL BOND AS3K420047 POSTED $2,500.00

    Request       4/22/2020     PROFESSIONAL BOND AS3K420046 POSTED $2,500.00

     3           4/22/2020     ARREST REPORT (OUT OF COUNTY)

      15         4/22/2020     PROBABLE CAUSE WARRANT

     3           4/22/2020     ARREST REPORT
                  4/22/2020     CASE FILED 04/22/2020 CASE NUMBER 2020 CF 001785 A
                  3/24/2020     ARREST SEQ: 17 - (895.03) PUBLIC ORDER CRIMES-RACKETEERING VIOLATION
                  3/24/2020     ARREST SEQ: 16 - (838.022(1A)) PUBLIC SERVANT FALSIFY OFFICIAL DOCUMENT
                  3/24/2020     ARREST SEQ: 15 - (838.022(1A)) PUBLIC SERVANT FALSIFY OFFICIAL DOCUMENT
                  3/24/2020     ARREST SEQ: 14 - (838.022(1A)) PUBLIC SERVANT FALSIFY OFFICIAL DOCUMENT
                  3/24/2020     ARREST SEQ: 13 - (838.022(1A)) PUBLIC SERVANT FALSIFY OFFICIAL DOCUMENT
                  3/24/2020     ARREST SEQ: 12 - (838.022(1A)) PUBLIC SERVANT FALSIFY OFFICIAL DOCUMENT
                  3/24/2020     ARREST SEQ: 11 - (838.022(1A)) PUBLIC SERVANT FALSIFY OFFICIAL DOCUMENT
                  3/24/2020     ARREST SEQ: 10 - (838.022(1A)) PUBLIC SERVANT FALSIFY OFFICIAL DOCUMENT
                  3/24/2020     ARREST SEQ: 9 - (838.022(1A)) PUBLIC SERVANT FALSIFY OFFICIAL DOCUMENT
                  3/24/2020     ARREST SEQ: 8 - (831.02) UTTER FORGED INSTRUMENT
                  3/24/2020     ARREST SEQ: 7 - (831.02) UTTER FORGED INSTRUMENT
                  3/24/2020     ARREST SEQ: 6 - (831.02) UTTER FORGED INSTRUMENT
                  3/24/2020     ARREST SEQ: 5 - (831.02) UTTER FORGED INSTRUMENT
                  3/24/2020     ARREST SEQ: 4 - (831.02) UTTER FORGED INSTRUMENT
                  3/24/2020     ARREST SEQ: 1 - (401.41(1D)) FALSE CLAIM EMT PARAMED AMBU DR ETC CERTIF LIC
                  3/24/2020     ARREST SEQ: 2 - (401.41(1D)) FALSE CLAIM EMT PARAMED AMBU DR ETC CERTIF LIC
                  3/24/2020     ARREST SEQ: 3 - (831.02) UTTER FORGED INSTRUMENT
                                                                                                                                                                                            Back | Print
                             Case 3:20-cv-05503-RV-HTC Document 22-2 Filed 06/21/21 Page 13 of 15
2020 CF 001418 A - STATE OF FLORIDA vs. KENNEY, KATHERINE ANNE
SUMMARY

                Judge:    NOBLES, LINDA L.                            Case Type:      FELONY                                             Status: OPEN
         Case Number:     2020 CF 001418 A                 Uniform Case Number:       172020CF001418XXXAXX
       Clerk File Date:   3/25/2020                                  Status Date:     3/25/2020
     SAO Case Number:                                             Total Fees Due:     0.00
               Agency:    ESCAMBIA COUNTY SHERIFF'S OFFICE      Agency Report #:      PE140072                               Custody Location:


PARTIES

TY PE           PA RTY N A M E
                                                                                                                       1
                                                                                                                       ATTO RN EY
                                                                                                                                         I


DEFENDANT       KENNEY, KATHERINE ANNE                                                                                                       ~ KLOTZ, J CHRISTOPHER (Main Attorney)
PLAINTIFF       STATE OF FLORIDA                                                                                                             ~ STATE ATTORNEY, DIVISION A (Main Attorney)

CHARGES

            COUNT     DESCRIPTION                                                                              LEVEL   DEGREE       PLEA DISPOSITION                                   DISPOSITION DATE

8               1     PUBLIC SERVANT OBST DELAY FELONY INFO (838.022(1c))                                      F       T

8               2     UTTER FORGED INSTRUMENT (831.02)                                                         F       T

8               3     UTTER FORGED INSTRUMENT (831.02)                                                         F       T

8               4     UTTER FORGED INSTRUMENT (831.02)                                                         F       T

8               5     UTTER FORGED INSTRUMENT (831.02)                                                         F       T

8               6     UTTER FORGED INSTRUMENT (831.02)                                                         F       T

8               7     PUBLIC SERVANT FALSIFY OFFICIAL DOCUMENT (838.022(1a))                                   F       T

8               8     PUBLIC SERVANT FALSIFY OFFICIAL DOCUMENT (838.022(1a))                                   F       T

8               9     PUBLIC SERVANT FALSIFY OFFICIAL DOCUMENT (838.022(1a))                                   F       T

8              10     PUBLIC SERVANT FALSIFY OFFICIAL DOCUMENT (838.022(1a))                                   F       T

8              11     PUBLIC SERVANT FALSIFY OFFICIAL DOCUMENT (838.022(1a))                                   F       T

8              12     CONCEAL INFO RE NONCERTIF EMT PARAMED AMBU DR (401.41(1c))                               M       F

8              13     FALSE CLAIM EMT PARAMED AMBU DR ETC CERTIF LIC (401.41(1d))                              M       F

8              14     FALSE CLAIM EMT PARAMED AMBU DR ETC CERTIF LIC (401.41(1d))                              M       F

8              15     FALSE CLAIM EMT PARAMED AMBU DR ETC CERTIF LIC (401.41(1d))                              M       F                     NO ACTION TAKEN BY PROSECUTOR             04/16/2020



EVENTS

DATE

6/9/2021 8:30 AM
                            EVEN T

                            DOCKET DAY
                                                       JUDG E

                                                       NOBLES, LINDA L.
                                                                                         1 LO CATI O N

                                                                                          M.C. BLANCHARD JUDICIAL BUILDING
                                                                                                                                                                 1
                                                                                                                                                                 RES ULT
                                                                                                                                                                                                           -


4/14/2021 8:30 AM           DOCKET DAY                 NOBLES, LINDA L.                   M.C. BLANCHARD JUDICIAL BUILDING                                       CONTINUED/RESET/PASSED
4/16/2020 8:30 AM           ARRAIGNMENTS               ROBINSON, COLEMAN L                M.C. BLANCHARD JUDICIAL BUILDING                                       CONTINUED/RESET/PASSED



CASE HISTORY

CA S E N UM B ER
                          1CHA RG E DES CRI PTI O N                CA S E S TATUS
                                                                                         1DI S PO S I TI O N

                                                                                        No Additional Cases
                                                                                                                        1  O UTS TA N DI N G A M O UN T
                                                                                                                                                                       1N EXT EVEN T          A LERTS




CASE DOCKETS

IMAGE
>-          1DATE
             4/19/2021
                                 EN TRY
                                 DOCKET DAY SET FOR 06/09/2021 AT 8:30 AM IN MC/ , JDG: NOBLES, LINDA L.
                                                                                                                                                                                                           -

       1    4/14/2021           HEARING WORKSHEET FILED
             4/14/2021           DOCKET DAY SET FOR 06/09/2021 AT 9:00 AM IN MC/ , JDG: NOBLES, LINDA L.

       2    4/7/2021            MOTION TO CONTINUE

       2    3/22/2021           AMENDED NOTICE OF TAKING DEPOSITION

       2    3/4/2021            NOTICE OF TAKING DEPOSITION
             2/24/2021           DOCKET DAY SET FOR 04/14/2021 AT 8:30 AM IN MC/ , JDG: NOBLES, LINDA L.
             2/10/2021           DOCKET DAY SET FOR 04/14/2021 AT 9:00 AM IN MC/ , JDG: NOBLES, LINDA L.

       1    2/10/2021           ORDER ON MOTION TO CONTINUE

       1    2/10/2021           3RD AMENDED DISCOVERY EXHIBIT

       2    2/8/2021            MOTION TO CONTINUE

       2    1/25/2021           NOTICE OF TAKING DEPOSITION(S)
             1/4/2021            DOCKET DAY SET FOR 02/17/2021 AT 8:30 AM IN MC/ , JDG: NOBLES, LINDA L.
             12/11/2020          DOCKET DAY SET FOR 02/17/2021 AT 9:00 AM IN MC/ , JDG: NOBLES, LINDA L.

       1    12/10/2020          ORDER ON MOTION FOR CONTINUANCE

       2    12/9/2020           MOTION TO CONTINUE
~                                                                                                                                                -
IMAGE
f---          I   DATE         Case
                                EN TRY 3:20-cv-05503-RV-HTC Document 22-2 Filed 06/21/21 Page 14 of 15
                  12/8/2020    DOCKET DAY SET FOR 12/16/2020 AT 9:30 AM IN MC/ , JDG: NOBLES, LINDA L.
                  11/20/2020   TWILLIAMS@OSA1.ORG, VTHALL@OSA1.ORG

I   Request   I   11/19/2020   DESIGNATION OF PROSECUTION ATTORNEY'S EMAIL ADDRESS

                  10/19/2020   DOCKET DAY SET FOR 12/16/2020 AT 9:00 AM IN MC/ , JDG: NOBLES, LINDA L.

        1        10/19/2020   ORDER ON MOTION TO CONTINUE

        1        10/13/2020   NOTICE OF CANCELATION

        1        10/12/2020   SECOND AMENDED DISCOVERY EXHIBIT

        2        9/25/2020    NOTICE OF TAKING DEPOSITION
                  9/23/2020    DOCKET DAY SET FOR 10/21/2020 AT 9:30 AM IN MC/ , JDG: NOBLES, LINDA L.

        1        8/24/2020    ORDER ON MOTION TO CONTINUE
                  8/21/2020    DOCKET DAY SET FOR 10/21/2020 AT 9:00 AM IN MC/ , JDG: NOBLES, LINDA L. (PER JA EMAIL)

        2        8/20/2020    MOTION TO CONTINUE
                  8/18/2020    DOCKET DAY SET FOR 08/26/2020 AT 9:30 AM IN MC/ , JDG: NOBLES, LINDA L.
                  6/26/2020    DOCKET DAY SET FOR 08/26/2020 AT 9:00 AM IN MC/ , JDG: NOBLES, LINDA L.

        1        6/26/2020    ORDER ON MOTION TO CONTINUE

        2        6/24/2020    MOTION TO CONTINUE

        1        5/18/2020    1ST AMENDED DISCOVERY EXHIBIT

        5        5/1/2020     DISCOVERY EXHIBIT
                  4/16/2020    FILED SEQ: 12 - (401.41(1C)) CONCEAL INFO RE NONCERTIF EMT PARAMED AMBU DR
                  4/16/2020    FILED SEQ: 13 - (401.41(1D)) FALSE CLAIM EMT PARAMED AMBU DR ETC CERTIF LIC
                  4/16/2020    FILED SEQ: 14 - (401.41(1D)) FALSE CLAIM EMT PARAMED AMBU DR ETC CERTIF LIC
                  4/16/2020    FILED SEQ: 2 - (831.02) UTTER FORGED INSTRUMENT
                  4/16/2020    FILED SEQ: 4 - (831.02) UTTER FORGED INSTRUMENT
                  4/16/2020    FILED SEQ: 3 - (831.02) UTTER FORGED INSTRUMENT
                  4/16/2020    FILED SEQ: 5 - (831.02) UTTER FORGED INSTRUMENT
                  4/16/2020    FILED SEQ: 6 - (831.02) UTTER FORGED INSTRUMENT
                  4/16/2020    FILED SEQ: 7 - (838.022(1A)) PUBLIC SERVANT FALSIFY OFFICIAL DOCUMENT
                  4/16/2020    FILED SEQ: 8 - (838.022(1A)) PUBLIC SERVANT FALSIFY OFFICIAL DOCUMENT
                  4/16/2020    FILED SEQ: 9 - (838.022(1A)) PUBLIC SERVANT FALSIFY OFFICIAL DOCUMENT
                  4/16/2020    FILED SEQ: 10 - (838.022(1A)) PUBLIC SERVANT FALSIFY OFFICIAL DOCUMENT
                  4/16/2020    FILED SEQ: 11 - (895.03) PUBLIC ORDER CRIMES-RACKETEERING VIOLATION
                  4/16/2020    FILED SEQ: 1 - (838.022(1C)) PUBLIC SERVANT OBST DELAY FELONY INFO
                  4/16/2020    NO ACTION TAKEN BY PROSECUTOR SEQ: 15 - (401.41(1D)) FALSE CLAIM EMT PARAMED AMBU DR ETC CERTIF LIC

        5        4/16/2020    INFORMATION AND DEMAND FOR NOTICE OF ALIBI

I Request I 4/16/2020          DEMAND FOR NOTICE OF ALIBI

                  4/16/2020    DOCKET DAY SET FOR 06/30/2020 AT 9:00 AM IN MC/ , JDG: NOBLES, LINDA L.

        1        4/16/2020    HEARING WORKSHEET FILED

        6        4/16/2020    INFORMATION AND DEMAND FOR NOTICE OF ALIBI

        2        3/31/2020    DEFENDANT'S WAIVER OF PRESENCE
                  3/30/2020    CHRIS@STEVENSONKLOTZ.COM, SERVICEJCK@STEVENSONKLOTZ.COM

        1        3/30/2020    DISCOVERY REQUEST

        3        3/30/2020    NOTICE OF DEFENDANT'S INTENT TO PARTICIPATE IN DISCOVERY

I   Request   I   3/30/2020    DESIGNATION OF E-MAIL ADDRESSES


    1            3/30/2020    NOTICE OF APPEARANCE, WAIVER OF ARRAIGNMENT, ENTRY OF CONDITIONAL PLEA OF NOT GUILTY, AND DEMAND FOR JURY TRIAL

     14          3/25/2020    PROBABLE CAUSE WARRANT

I Request I 3/25/2020          PROFESSIONAL BOND AS15K295890 POSTED $15,000.00


I Request I 3/25/2020          PROFESSIONAL BOND AS3K420036 POSTED $2,500.00


I Request I 3/25/2020          PROFESSIONAL BOND AS3K420035 POSTED $2,500.00


I Request I 3/25/2020          PROFESSIONAL BOND AS3K420034 POSTED $2,500.00


I Request I 3/25/2020          PROFESSIONAL BOND AS3K420033 POSTED $2,500.00


I Request I 3/25/2020          PROFESSIONAL BOND AS3K420032 POSTED $2,500.00


I Request I 3/25/2020          PROFESSIONAL BOND AS3K420037 POSTED $2,500.00


I Request I 3/25/2020          PROFESSIONAL BOND AS3K420031 POSTED $2,500.00


I Request I 3/25/2020          PROFESSIONAL BOND AS3K420030 POSTED $2,500.00
~                                                                                                           -
IMAGE      DATE         Case
                         EN TRY 3:20-cv-05503-RV-HTC Document 22-2 Filed 06/21/21 Page 15 of 15
I Request I 3/25/2020   PROFESSIONAL BOND AS3K420029 POSTED $2,500.00


I Request I 3/25/2020   PROFESSIONAL BOND AS3K420028 POSTED $2,500.00


I Request I 3/25/2020   PROFESSIONAL BOND AS1K508438 POSTED $500.00


I Request I 3/25/2020   PROFESSIONAL BOND AS1K508437 POSTED $500.00


I Request I 3/25/2020   PROFESSIONAL BOND AS1K508436 POSTED $500.00


I Request I 3/25/2020   PROFESSIONAL BOND AS1K508435 POSTED $500.00

           3/25/2020    ARREST REPORT WITH CONFIDENTIAL INFORMATION (CO DEF: 20CF001418B AND 20CF001506A)
           3/25/2020    ARRAIGNMENTS SET FOR 04/16/2020 AT 8:30 AM IN MC/ , JDG: ROBINSON, COLEMAN L
           3/25/2020    PROSECUTOR: STATE ATTORNEY, DIVISION A ASSIGNED
           3/25/2020    NOBLES, LINDA L.: ASSIGNED
           3/25/2020    CASE FILED 03/25/2020 CASE NUMBER 2020 CF 001418 A
           3/24/2020    ARREST SEQ: 14 - (838.022(1C)) PUBLIC SERVANT OBST DELAY FELONY INFO
           3/24/2020    ARREST SEQ: 15 - (895.03) PUBLIC ORDER CRIMES-RACKETEERING VIOLATION
           3/24/2020    ARREST SEQ: 13 - (838.022(1A)) PUBLIC SERVANT FALSIFY OFFICIAL DOCUMENT
           3/24/2020    ARREST SEQ: 12 - (838.022(1A)) PUBLIC SERVANT FALSIFY OFFICIAL DOCUMENT
           3/24/2020    ARREST SEQ: 11 - (838.022(1A)) PUBLIC SERVANT FALSIFY OFFICIAL DOCUMENT
           3/24/2020    ARREST SEQ: 10 - (838.022(1A)) PUBLIC SERVANT FALSIFY OFFICIAL DOCUMENT
           3/24/2020    ARREST SEQ: 9 - (831.02) UTTER FORGED INSTRUMENT
           3/24/2020    ARREST SEQ: 8 - (831.02) UTTER FORGED INSTRUMENT
           3/24/2020    ARREST SEQ: 7 - (831.02) UTTER FORGED INSTRUMENT
           3/24/2020    ARREST SEQ: 6 - (831.02) UTTER FORGED INSTRUMENT
           3/24/2020    ARREST SEQ: 5 - (831.02) UTTER FORGED INSTRUMENT
           3/24/2020    ARREST SEQ: 4 - (401.41(1D)) FALSE CLAIM EMT PARAMED AMBU DR ETC CERTIF LIC
           3/24/2020    ARREST SEQ: 3 - (401.41(1D)) FALSE CLAIM EMT PARAMED AMBU DR ETC CERTIF LIC
           3/24/2020    ARREST SEQ: 1 - (401.41(1C)) CONCEAL INFO RE NONCERTIF EMT PARAMED AMBU DR
           3/24/2020    ARREST SEQ: 2 - (401.41(1D)) FALSE CLAIM EMT PARAMED AMBU DR ETC CERTIF LIC
